                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                           3:18-CR-00345-RJC-DCK
 USA                                        )
                                            )
    v.                                      )              ORDER
                                            )
 CHRISTOPHER ANTHONY DAVIS                  )
                                            )


         THIS MATTER is before the Court upon motion of the defendant for

compassionate release based on the COVID-19 pandemic under 18 U.S.C. §

3582(c)(1)(A), as amended by the First Step Act of 2018. (Doc. No. 18).

         Section 603(b) of the First Step Act amended § 3582(c)(1)(A), which

previously only allowed a court to reduce a term of imprisonment on motion of the

Director of the Bureau of Prisons (BOP). Now a court may entertain a motion filed

by a defendant: (1) after full exhaustion of all administrative rights to appeal a

failure of the BOP to bring a motion on the inmate’s behalf; or (2) after the lapse of

30 days from the receipt of such a request by the warden of the facility, whichever is

earlier. Here, the defendant cannot obtain relief from this Court when he has not

first sought it through the warden at his facility. Therefore, the Court is without

authority to consider the merits of his claim. United States v. Raia, 954 F.3d 594,

595 (3d Cir. 2020).




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       IT IS, THEREFORE, ORDERED that the defendant’s motion for

compassionate release, (Doc. No. 18), is DENIED without prejudice.

       The Clerk is directed to certify copies of this Order to the defendant, the

United States Attorney, the United States Marshals Service, and the United States

Probation Office.

 Signed: September 25, 2020




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